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                                                              U.S. Dl'SfRICt COURT
                         UNITED STATES DISTRICT COURT          DISTRICT OF N H
                           DISTRICT OF NEW HAMPSHIRE                FILED

UNITED STATES OF AMERICA                                     2011 AUG 23 P |: 5b

               v.                            11-CR- //^-Ol-^Jb

KURT SANBORN

                                   INFORMATION

     THE UNITED STATES ATTORNEY CHARGES:
                            MAIL FRAUD
                         18 U.S.C. §1341
        1.     At all times relevant to this Information, First Bank
was a financial institution, the deposits of which were insured
by the Federal Deposit Insurance Corporation ("FDIC"); First Banc
Home Mortgage, Inc. ("First Banc"), was a wholly owned subsidiary
of First Bank; and Community Bank and Trust ("CBT") was a
financial institution, the deposits of which were insured by the
FDIC.

        2.     From in and around May 2003 to in and around October
2004, in the District of New Hampshire and elsewhere, the
defendant,

                                  KURT SANBORN,
through conduct that affected First Banc and CBT, knowingly
devised a scheme and artifice to defraud First Banc and CBT and
to obtain money that belonged to First Banc and CBT by means of
false and fraudulent pretenses, representations and promises; and
for the purpose of executing the scheme and attempting to do so,
caused an item of mail to be placed in a post office and
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authorized depository for mail matter to be sent and delivered by
the United States Postal Service according to the directions
thereon, in that:
          a.     In and around May 2003, SANBORN and another
    person ("the other borrower") received a $500,000 loan
     from two individuals ("the original lenders") that was
     secured by property located at 1093 Union Street,
    Manchester, New Hampshire ("the Manchester property");

          b.     The original lenders' security interest in the
    Manchester property was recorded at the Hillsborough
     County Registry of Deeds ("Registry of Deeds") on or
     about May 20, 2 003;

          c.     In and around November 2003, SANBORN and the
     other borrower knowingly caused a Discharge of Mortgage
     that contained the forged signatures of the original
     lenders to be delivered by the United States Postal
     Service to the Registry of Deeds;

          d.     The fraudulent Discharge of Mortgage was
     recorded at the Registry of Deeds on or about November
     21, 2003;
          e.     In and around November 2003 through in and
     around December 2003, SANBORN and the other borrower
     falsely and fraudulently applied for and received a
     $185,000 loan from First Banc that was secured by the


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    Manchester property, by concealing and failing to
     disclose the original lenders' security interest in the
    Manchester property to First Banc;
          f.   In and around March 2003, SANBORN and the
     other borrower falsely and fraudulently applied for and
     received a $150,000 loan from CBT that was also secured
    by the Manchester property, by concealing and failing
     to disclose the original lenders' security interest in
     the Manchester property to CBT;

          g.    In and around October 2004, SANBORN and the
     other borrower falsely and fraudulently caused the
     Manchester property to be sold to the current owners of
     the property by concealing and failing to disclose the
     original lenders' security interest in the Manchester
     property to the current owners of the property;


     All in violation of Title 18, United States Code, Section
1341.

DATED: August 23, 2 011

                            JOHN P. KACAVAS
                            United States Attorney


                      By:       Q.x^fa.tLjh
                            Robert M. Kinsella
                            Assistant United States Attorney



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